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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff, Cr. No.: 24-CR-20145-JTF
18 U.S.C. § 2

18 U.S.C. § 1028A

18 U.S.C. § 1341

V.

LISA JEANINE FINDLEY,
a/k/a LISA HOLDEN,

a/kla LISA HOWELL,

a/klia GREGORY NAUSSANY,
alkla KURT NAUSSANY,

a/k/a LISA JEANINE SULLINS,
alkla CAROLYN WILLIAMS,

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Defendant.
INDICTMENT
THE GRAND JURY CHARGES THAT: -
GENERAL ALLEGATIONS
At all times material to this Indictment:
The Defendant
1. Defendant LISA JEANINE FINDLEY (“FINDLEY”) (also known as “Lisa

Holden,” “Lisa Howell,” “Gregory Naussany,” “Kurt Naussany,” “Lisa Jeanine Sullins,” and
“Carolyn Williams’) was a resident of Kimberling City, Missouri.
Elvis Presley and Graceland
2. Elvis Presley was a world-renowned singer, actor, and cultural icon. In and
around 1957, Mr. Presley purchased an approximately 13.8-acre estate in Memphis,
Tennessee, known as “Graceland,” as a home for himself and his family. Mr. Presley

lived at Graceland for twenty years until his death in August 1977.
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as In and around 1982, Graceland opened to the public. Since then,
Graceland has grown to become one of the most visited private homes in America. In
and around 1991, Graceland was placed on the National Register of Historic Places. In
and around 2006, it was designated by the Secretary of the United States Department of
the Interior as a National Historic Landmark.

4. Since Mr. Presley's death, Graceland has remained in Mr. Presley's family.
Beginning in and around 1993, Graceland was owned by a revocable trust established
by Mr. Presley’s only child, L.M.P. After L.M.P.’s death in January 2023, her daughter,
D.R.K., became trustee. As trustee, D.R.K. was Graceland’s sole owner.

COUNT 1
(Mail Fraud, 18 U.S.C. § 1341)
(Aiding and Abetting, 18 U.S.C. § 2)
5. Paragraphs 1 through 4 of this Indictment are realleged and incorporated

by reference as though fully set forth herein.

The Scheme to Defraud

6. From at least in and around January 2023, and continuing through at least
in and around August 2024, in the Western District of Tennessee and elsewhere,
defendant

LISA JEANINE FINDLEY,
and others known and unknown to the Grand Jury, aided and abetted by each other, did
knowingly, and with the intent to defraud, having devised and intending to devise a
scheme and artifice to defraud, and to obtain money and property by means of materially
false and fraudulent pretenses, representations, and promises, knowing such pretenses,

representations, and promises were false and fraudulent when made, placed, and caused
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to be placed, in a United States Post Office or authorized depository for mail, a thing to
be sent and delivered by the United States Postal Service or any private or commercial
interstate carrier, for the purpose of executing such scheme and artifice.

Purpose of the Scheme and Artifice

7. lt was the purpose of the scheme and artifice to defraud for FINDLEY, and
others known and unknown to the Grand Jury, to enrich themselves unlawfully by, among
other things: (i) fraudulently obtaining money and property from Mr. Presley's family; (ii)
fraudulently obtaining the ownership interest in Graceland from Mr. Presley’s family; (iii)
fraudulently selling Graceland to the highest bidder in a public auction; (iv) using the
proceeds from the scheme for their own personal benefit; and (v) concealing and
disguising from their victims FINDLEY’s true identity, the existence of the scheme, and
her involvement in the scheme.

The Manner and Means of the Scheme and Artifice

8. It was part of the scheme and artifice to defraud, and among the manner
and means by which FINDLEY, and others known and unknown to the Grand Jury, carried
out the scheme and artifice, that at least the following occurred.

9. Using a series of aliases, email addresses, and fake documents, FINDLEY
engaged in a scheme to defraud Mr. Presley’s family for millions of dollars by threatening
to foreclose on the “Graceland” estate owned by Mr. Presley’s family and auction
Graceland to the highest bidder as part of a fraudulent non-judicial sale she scheduled
for May 23, 2024. As part of her scheme to defraud:

a. FINDLEY concealed and disguised from her victims her identity, the

existence of the scheme to defraud, and her involvement in the scheme,
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by using aliases, including “Gregory Naussany,” “Kurt Naussany,” and
“Carolyn Williams,” and email addresses, including:

- “carolyn.williams.niplillc@outlook.com,”

« “gregoryenaussanyniplflorida@hotmail.com,”

- “naussanyinvestmentsllc@outlook.com,” and

- “niplcollections@outlook.com.”

b. FINDLEY used these aliases and email addresses to create the false

and fraudulent impression that “Naussany Investments & Private
Lending LLC,” a/k/a “NIPL LLC” (“Naussany Investments”), was a real

company engaged in the business of making personal loans.

. FINDLEY falsely and fraudulently represented to attorneys for D.R.K.

(Mr. Presley's granddaughter) that, before her death, L.M.P. (Mr.
Presley's daughter and D.R.K.’s mother) had (i) borrowed $3.8 million
from Naussany Investments in 2018, (ii) pledged Graceland as collateral

for the loan, and (iii) defaulted on the loan.

. FINDLEY used, without lawful authority, L.M.P.’s name and signature,

as well as the names, signatures, and notary seals of other real persons,
to create fake loan documents purporting to memorialize L.M.P.’s 2018
agreement to borrow $3.8 million from Naussany Investments and
pledge Graceland as collateral for the loan, including a fake promissory

note and a fake deed of trust.

. FINDLEY used the fake loan documents as part of a false and fraudulent

creditor's claim filed on behalf of Naussany Investments in the Superior
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Court of California, County of Los Angeles (“California Superior Court’),
in connection with the administration of L.M.P.’s estate. FINDLEY also
filed other fake documents in support of Naussany Investments’ false
and fraudulent creditor’s claim, including fake bank records and fake
mailing labels.

f. FINDLEY proposed to D.R.K.’s attorneys, without disclosing that the
creditor's claim was false and fraudulent, that she would be agreeable
to settling the claim for $2.85 million, which represented 75% of the
amount that FINDLEY falsely and fraudulently claimed that L.M.P. had
borrowed from Naussany Investments.

g. FINDLEY submitted the fake loan documents to the Shelby County
Register’s Office in Memphis, Tennessee, to fraudulently record the fake
deed of trust and facilitate the false and fraudulent sale of Graceland.

h. FINDLEY published in The Commercial Appeal (one of Memphis,
Tennessee’s daily newspapers) a false and fraudulent “Notice of
Foreclosure Sale” that falsely and fraudulently represented to the public
that L.M.P. had borrowed $3.8 million from Naussany Investments in
2018, pledged Graceland as collateral for the loan, and defaulted on the
loan. The false and fraudulent “Notice of Foreclosure Sale” also
represented to the public that Graceland would be sold to the highest
bidder in an auction to be held on May 23, 2024.

i. After D.R.K. filed a lawsuit in the Shelby County Chancery Court in

Memphis, Tennessee to stop the false and fraudulent sale of Graceland,
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FINDLEY submitted to the Shelby County Chancery Court filings and
documents that contained materially false and _ fraudulent
representations.

j. After FINDLEY’s scheme attracted global media attention, FINDLEY
made false and fraudulent representations to D.R.K.’s attorneys, the
Shelby County Chancery Court, and the press creating the false and
fraudulent impression that the person responsible for the scheme was a
Nigerian identity thief located in Nigeria.

Acts in Furtherance of the Scheme and Artifice

10. In furtherance of the scheme and artifice to defraud, FINDLEY committed,

or caused to be committed, the following.

January 2023:
FINDLE Y Applied for a Post Office Box Used in the Scheme

11. On or about January 27, 2023, FINDLEY applied for Post Office Box (“PO
Box”) Service at a United States Post Office in and around Hollister, Missouri. In the
application, FINDLEY identified “Lisa Holden” as the person applying for the PO Box. The

Post Office assigned PO Box #1015 (“PO Box #1”).

July 2023:
FINDLEY Created a False and Fraudulent Creditor’s Claim

and Mailed It to D.R.K.’s Attorneys
12. On or about July 14, 2023, the email address
“naussanyinvestmentslic@outlook.com” was created.
13. On or about July 14, 2023, an individual purporting to be “Kurt Naussany,”
Chief Lending Officer for Naussany Investments, sent an email to D.R.K.’s attorneys
using this newly created Outlook email address. The individual falsely and fraudulently

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claimed that L.M.P. had taken a collateral loan with Naussany Investments and defaulted
on this debt before her death. The individual threatened to foreclose on the property that
had been used as collateral if D.R.K. did not respond within 10 days. In response,
D.R.K.’s attorneys asked for more information about the loan.

14. Onor about July 28, 2023, the email address “niplcollections@outlook.com”
was created.

15. On or about July 28, 2023, a package containing a false and fraudulent
“creditor's claim” and supporting documentation was mailed from a United States Post
Office in Kimberling City, Missouri to L.M.P.’s business manager in Woodland Hills,
California. The false and fraudulent creditor's claim was captioned for filing in the
California Superior Court in connection with the administration of L.M.P.’s estate. The
false and fraudulent creditor’s claim listed “NIPL LLC/[Bank #1]” as the purported claimant
and “niplcollections@outlook.com” as NIPL LLC’s contact email.

16. In the portion of the false and fraudulent creditor’s claim that required the
purported claimant to list the “Facts Supporting the Claim,” the purported claimant stated:

a. L.M.P. had borrowed $3.8 million dollars from Naussany Investments in
2018;

b. L.M.P. pledged Graceland as collateral for the loan;

c. L.M.P. defaulted on the loan; and

d. Naussany Investments mailed letters notifying L.M.P. of the default, and
the letters were “refused and returned” by L.M.P. or her representatives.

17. The false and fraudulent creditor's claim was purportedly signed by

“Gregory Naussany,” listed his title as “Lender,” and “declare[d] under the penalty of
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perjury under the laws of the State of California that the foregoing [creditor's claim] [was]
true and correct.” In truth and in fact, FINDLEY knew these representations were false
and fraudulent: L.M.P. had not borrowed $3.8 million from Naussany Investments in
2018; L.M.P. had not pledged Graceland as collateral for the loan; L.M.P. had not
defaulted on the loan; and Naussany Investments had not mailed letters notifying L.M.P.
of the default and the letters had not been “refused and returned” by L.M.P. or her
representatives.

18. | Numerous fake documents were attached as supporting documentation for

the false and fraudulent creditor's claim, including, among other documents:
a. A fake “Standard Promissory Note,” which purported to memorialize
L.M.P.’s 2018 agreement to borrow $3.8 million from Naussany
Investments (the “Promissory Note”). The -Promissory Note was
purportedly signed by L.M.P. in person in Florida before K.P., a Notary
| Public for the State of Florida, who purportedly notarized the document.
b. A fake “Deed of Trust,” which purported to memorialize L.M.P.’s pledge
of Graceland as collateral for $3.8 million loan from Naussany
Investments (the “Deed of Trust”). The Deed of Trust was purportedly
signed by L.M.P. in person in Florida before K.P. and notarized by K.P.
c. Fake bank records from Bank #1, which purported to document
Naussany Investments’ disbursement of funds to L.M.P. in the amount

of $3.8 million in 2018 (the “Bank #1 Records”).
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d. Three fake mailing labels, which purported to document Naussany
Investments’ repeated attempts to provide notice to L.M.P. of impending
legal action for her default on the $3.8 million loan (the “Mailing Labels”).

FINDLEY knew that the supporting documents accompanying the false and fraudulent
creditor's claim were fake because she created them or caused them to be created.
FINDLEY also knew that: L.M.P. was a real person; FINDLEY did not have lawful authority
to use L.M.P.’s name or signature; K.P. was a real person; and FINDLEY did not have
lawful authority to use K.P.’s name, signature, or notary seal.

19. The false and fraudulent creditor's claim included a proposed a settlement:

Lender will agree to a settlement arrangement to not proceed

with legal action if the Trustee agrees to pay 75% of the

amount that was borrowed from namely L.M.P. and that
settlement amount being $2,850,000.00.

September 2023:
+ FINDLEY Filed the False and Fraudulent Creditor’s Claim

with the California Superior Court
20. Onor about September 18, 2023, the false and fraudulent creditor’s claim
together with the fake supporting documentation was filed with the California Superior
Court. In the portion of the false and fraudulent creditor's claim that required the claimant
to list the “Facts Supporting the Claim,” the purported claimant repeated the same false
and fraudulent representations contained in the copy of the false and fraudulent creditor's
claim mailed to D.R.K. on or about July 28, 2023, namely that:
a. L.M.P. had borrowed $3.8 million dollars from Naussany
Investments in 2018;
b. L.M.P. pledged Graceland as collateral for the loan;
c. L.M.P. defaulted on the loan; and

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d. Naussany Investments mailed letters notifying L.M.P. of the
default and the letters were “refused and returned” by L.M.P. or
her representatives.
21. ‘The filed version of the false and fraudulent creditor’s claim listed PO Box
#1 as Naussany Investments’ business address, was signed by an individual purporting
to be “Carolyn Williams Sr Collections Officer,” and “declare[d] under the penalty of
perjury under the laws of the State of California that the foregoing [creditor’s claim] [was]
true and correct.” In truth and in fact, FINDLEY knew all these representations were false
and fraudulent: L.M.P. had not borrowed $3.8 million from Naussany Investments in
2018; L.M.P. had not pledged Graceland as collateral for the loan; L.M.P. had not
defaulted on the loan; and Naussany Investments had not mailed letters notifying L.M.P.
of the default -and-the letters had not been “refused and returned” by L.M.P. or her
representatives.
22. Numerous fake documents were submitted as supporting documentation
for the false and fraudulent creditor's claim, including among other documents:
a. The fake Promissory Note, purportedly signed by L.M.P. and
purportedly signed and notarized by K.P.
b. The fake Deed of Trust, purportedly signed by L.M.P. and
purportedly signed and notarized by K.P.
c. The fake Loan Agreement, purportedly signed by L.M.P.
d. The fake Bank #1 Records.

e. The fake Mailing Labels.

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FINDLEY knew that all the documents attached to the false and fraudulent creditor's claim
filed in California Superior Court were fake because she created them or caused them to
be created. FINDLEY also knew that: L.M.P. was a real person; FINDLEY did not have
lawful authority to use L.M.P.’s name or signature; K.P. was a real person; and FINDLEY
did not have lawful authority to use K.P.’s name, signature, or notary seal.

23. At the end of the false and fraudulent creditor’s claim, it contained another
proposal to settle its claim for $2,850,000.00.

24. Onor about September 19, 2023, one day after the alias “Carolyn Williams”
was used to file the false and fraudulent creditor's claim in California Superior Court, the
email address “carolyn.williams.nipllic@outlook.com” was created.

November-December 2023:

FINDLEY Applied for a Second PO Box Used in the Scheme,
and Sent False and Fraudulent Documents to the Shelby County Register’s Office

25. Onor about November 30, 2023, FINDLEY applied for another PO Box, this
time in and around Kimberling City, Missouri. In the application, FINDLEY represented
that the service was for business use by “NIPL LLC,” identified “Lisa Findley” as NIPL
LLC’s “CEO,” and listed “naussanyinvestmentsllc@outlook.com” as NIPL LLC’s email
address. The Post Office assigned PO Box #514 (“PO Box #2”) to NIPL LLC.

26. Later that day, on or about November 30, 2023, FINDLEY placed in a United
States Post Office in Kimberling City, Missouri, a package that was sent and delivered by
the United States Postal Service via Certified Mail to an address in Memphis, Tennessee
(the “November 30, 2023 Package”). The mailing label, addressed to “Shelby County
Register,” stated that the sender was “NIPL LLC.” FINDLEY used as NIPL LLC’s

business address the PO Box FINDLEY had rented earlier that day: PO Box #2. The

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package contained a document titled “Authorization Agreement for Direct Payments (ACH
Debits) FY24,” which authorized the Shelby County Register’s Office to debit NIPL LLC’s
account at Bank #2 for the payment of any fees incurred by NIPL LLC. The agreement
was signed using the alias “Carolyn Williams.”

27.  \n and around December 2023, an individual purporting to be “Carolyn
Williams’ telephoned the Shelby County Register’s Office with questions about setting up
an e-file account and e-filing the fake Deed of Trust.

28. Also in and around December 2023, an individual sent numerous emails
about the fake Promissory Note and fake Deed of Trust using the alias “Carolyn Williams”
at “carolyn.williams.nipllic@outlook.com” to the Shelby County Register’s Office. For
example, on or about December 19, 2023, an email was sent from “Carolyn Williams”

- attaching a copy of the fake Promissory Note and fake Deed of Trust. The fake Deed of
Trust was modified to include a handwritten note listing as NIPL LLC’s address “[PO Box
#2], Kimberling City, MO.”

29. Further, an individual using the alias “Carolyn Williams” executed two false
and fraudulent affidavits that accompanied the fake Promissory Note and fake Deed of
Trust that was emailed to the Shelby County Register’s Office, each of which falsely and
fraudulently represented:

|, Carolyn Williams, do hereby make oath that | am a licensed
attorney and/or the custodian of the original version of the
electronic document tendered for registration herewith and
that this electronic document is a true and exact copy of the

original document executed and authenticated according to
law on December 15, 2023.

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In truth and in fact, FINDLEY knew these affidavits were false and fraudulent. FINDLEY
knew the Promissory Note and Deed of Trust were fake because she created them or
caused them to be created.

January-April 2024:

FINDLEY Repeatedly Threatened to Foreclose on Graceland
and Prepared to Conduct a Fraudulent Auction of Graceland

30. On or about January 16, 2024, an email was sent from an individual
purporting to be “Kurt Naussany” at “naussanyinvestmentslIc@outlook.com” to D.R.K.’s
attorneys threatening to foreclose on Graceland:

[A]s of [the] date the Loan has not been taken care of which
has left us no choice but to Advertise the Notice of
Foreclosure Sale, February 20, 2024, in the Tennessee
Tribune. The Loan is seriously in default and creditors claim
has been filed with also being ignored. Copies of the loan
documents have been mailed out certified mail to [D.R.K.]
again with no response.

31. On or about January 31, 2024, a second false and fraudulent creditor's
claim was filed in California Superior Court that repeated the false and fraudulent
representations made in the false and fraudulent creditor's claim previously filed on or
about September 18, 2023 in California Superior Court. It listed PO Box #2, Kimberling
City, Missouri as Naussany Investments’ address.

32. Alsoonor about January 31, 2024, fees were paid to the California Superior
Court using a checking account at Bank #2 (the same bank described above in paragraph
26) in the name of “Lisa Holden.”

33. Onor about April 18, 2024, an individual purporting to be “Kurt Naussany”

sent an email from “naussanyinvestmentslic@outlook.com” to D.R.K.’s attorneys

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repeating the threat to take Graceland from Mr. Presley’s family and sell it to the highest
bidder:

Please be advised that we have made numerous attempts to
settle the Creditors Claim with your Client [D.R.K.], Trustee
.... We are now prepared to Foreclose on secured property
Graceland and hold Public Auction in 20 (twenty) days. We
have tried relentlessly reaching out and no cooperation.

Regards
K. Naussany
Naussany Investments LLC

Disclaimer: With a nonjudicial foreclosure, court action
isn’t required. Instead, the bank will follow the out-of-court
process outlined in state law. After completing the required
state procedures, the bank will sell the property at a
foreclosure sale.

In Tennessee, most banks use the nonjudicial process
because it’s faster and cheaper than litigating a lawsuit.

Nonjudicial process: The lender gives the homeowner

notice of their intent to foreclose, and the process proceeds
without further input from the court.

May 2024:
FINDLEY Made False and Fraudulent Representations to D.R.K.’s Attorneys,

Filed False and Fraudulent Court Filings in the Shelby County Chancery Court,
and Made False and Fraudulent Representations to the Press
34. Onor about May 2, 2024, an individual purporting to be J.O. placed an order
to publish a false and fraudulent “Notice of Foreclosure Sale” in The Commercial Appeal
on May 5, 2024, May 12, 2024, and May 19, 2024, respectively. The false and fraudulent
“Notice of Foreclosure Sale” falsely and fraudulently represented to the public that L.M.P.

had borrowed $3.8 million from Naussany Investments in 2018, pledged Graceland as

collateral for the loan, and defaulted on the loan. The false and fraudulent “Notice of

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Foreclosure Sale” also announced to the public that Graceland would be sold to the
highest bidder in an auction to be held on May 23, 2024.

35. Later that day, on or about May 2, 2024, an individual purporting to be
“Carolyn Williams” sent an email from “carolyn.williams.nipllic@outlook.com” to D.R.K.’s
attorneys attaching a copy of the false and fraudulent “Notice of Foreclosure Sale,” the
receipt reflecting the order to publish it in The Commercial Appeal, and the publication
schedule.

36. Onor about May 13, 2024, an individual purporting to be “Carolyn Williams”
sent an email from “carolyn.williams.niplllc@outlook.com’” to D.R.K.’s attorneys stating
that Naussany Investments had already published two of the three foreclosure notices
and was on the verge of publishing the third and final notice and holding the auction:

Please take notice that the Foreclosure Notice has run 2
weeks now and the 3rd and final is May 19. The Trustee
[D.R.K.] has been sent multiple certified letters return receipt
with no response from her. As you are aware the loan given
to [L.M.P.] is and has been defaulted. Bidding takes place
May 23, 2024 from 10am to 12 pm to highest bidder.

37. On or about May 15, 2024, D.R.K. filed a lawsuit in the Shelby County
Chancery Court in Memphis, Tennessee, alleging in sum and substance that Naussany
Investments was a false and fraudulent entity created for the purpose of defrauding Mr.
Presley’s family and any potential purchaser of Graceland in the non-judicial foreclosure
sale then-scheduled for May 23, 2024. D.R.K. sought to enjoin the auction. D.R.K.
attached an affidavit from K.P. stating in sum and substance that K.P. had not notarized

the purported Promissory Note, had never met L.M.P., and had never notarized any

document signed by L.M.P.

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38. Onor about May 15, 2024, Chancellor JoeDae L. Jenkins issued an order
temporarily enjoining “Kurt Naussany” and Naussany Investments from conducting a
non-judicial foreclosure sale of Graceland pending an in-person hearing that the
Chancellor scheduled for May 22, 2024.

39. On or about May 20, 2024, in response to an inquiry from a CBS News
producer seeking comment on D.R.K.’s lawsuit, an individual purporting to be “Carolyn
Williams” and “Kurt Naussany” repeated the false and fraudulent representation that
“Carolyn Williams” and “Kurt Naussany” were involved in making loans on behalf of
Naussany Investments to L.M.P.:

a. An individual purporting to be “Carolyn Williams” sent an email from
“carolyn.williams.nipillc@outlook.com” stating that while she had “no
knowledge of any filing in Chauncery [sic] Court in Shelby County,” she
believed “[t]he daughter is just trying to get out of paying her mothers
[sic] bills it seems[.]” She added that “Mr. Naussany has known [L.M.P.]
since martiage [sic] to Michael Jackson. ... We do have documentation
and witnesses that can verify [L.M.P.] in our Florida office in 2018.
...[L.M.P.] has taken out several loans with Naussany Investments.”

b. An individual purporting to be “Kurt Naussany” sent a separate email
from “naussanyinvestmentsllc@outlook.com’” asking when CBS News
planned to air the story so that Naussany Investments could notify Bank

#1 and Bank #3, “since they back [Naussany Investments’ loans.”

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40. Later that day, on or about May 20, 2024, in response to a communication
from the CBS News producer informing “Carolyn Williams” and “Kurt Naussany” that a
story would air on television and asking whether they had any response to K.P.’s sworn
affidavit stating that K.P. had not notarized the purported Promissory Note, had not met
L.M.P., and had not notarized any documents signed by L.M.P., an individual purporting
to be “Carolyn Williams” and “Kurt Naussany” emailed the CBS News producer with a
changed story:

a. An individual purporting to be “Carolyn Williams” sent an email from
“carolyn.williams.niplllc@outlook.com” denying any involvement in the
loan to L.M.P. and blaming “Gregory Naussany’:

| myself did not do the loan, although | have known [L.M.P.]

for many years. | believe Greg Naussany did the loan

process. Greg and | are no longer partnered together. | have

ventured out, [s]o whoever is filing paperwork may need to

look at documents again. Greg Naussany works out of

Jacksonville Florida office with another partner. So, they

obviously have wrong information and wrong Naussany

Investments.

b. An individual purporting to be “Kurt Naussany” sent an email from
“naussanyinvestmentsllc@outlook.com” similarly denying any
involvement in the loan to L.M.P. and blaming “Gregory Naussany”:

I'm only going to state this, [D.R.K.] will need to contact

Gregory Naussany in Jacksonville Florida. My name should

not appear on anything with NAUSSANY INVESTMENTS

AND PRIVATE LENDING LLC! That is not my investment

company and has not been since 2015! My investment

company is located on the West Coast. | did not sign any

paperwork with [L.M.P.]. So please get the story straight
before defamation charges come about.

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41. On or about May 21, 2024, the email address
“gregoryenaussanyniplflorida@hotmail.com’” was created.

42. Also on or about May 21, 2024, papers were electronically filed with the
Florida Department of State creating a limited liability company named “Naussany
Investments & Private Lending, LLC.”

43. Later on or about May 21, 2024, an individual purporting to be “Kurt
Naussany” began responding to media inquiries sent to
“naussanyinvestmentsllc@outlook.com” by directing them to “Gregory E. Naussany” in
Jacksonville, Florida at “gregoryenaussanyniplflorida@hotmail.com.” An_ individual
purporting to be “Gregory Naussany” then sent emails from
“gregoryenaussanyniplflorida@hotmail.com” stating that “Carolyn Williams” and “Kurt
Naussany’” had not been involved with Naussany Investments since 2015 and accepting
personal responsibility for the loans made to L.M.P.

44. Later on or about May 21, 2024, an individual purporting to be “Gregory
Naussany” sent an email from “gregoryenaussanyniplflorida@hotmail.com” to D.R.K.’s
attorneys falsely and fraudulently representing that “Gregory Naussany” had approved
the $3.8 million loan to L.M.P. and that neither “Kurt Naussany” nor “Carolyn Williams”
have been with Naussany Investments since 2015. The individual purporting to be
“Gregory Naussany” then repeated the false and fraudulent representation that L.M.P., or
“LMP” as she called her, had a history of borrowing money from Naussany Investments
and had defaulted on the most recent loan:

Please be advised that this is not the first loan or money
borrowed by LMP. | will be calling for all files from micro film
[sic] in morning on LMP, for each loan she has taken out with
my company. LMP borrowing habits became more frequent

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in 2008. We had sent multiple certified mailing's [sic] out to
LMP, each mailing was either returned [sic] refused, not
excepted [sic], there were emails sent to LMP and again with
no response. | will also be contacting my banks that back my
loans to pull all cashier's checks made out to LMP.

The individual also proposed to settle with D.R.K. for $2,850,000, writing:

| have given the option for the trust to pay 75% of the loan in
the creditors claim filed.

45. Later on or about May 21, 2024, an individual purporting to be “Gregory
Naussany’ filed in the Shelby County Chancery Court a one-page response denying
D.R.K.’s allegations that Naussany Investments’ claims were false and fraudulent. The
filing was signed using the alias “Gregory Naussany” and listed as his email address
gregoryenaussanyniplflorida@hotmail.com.

46. Onor about May 22, 2024, Chancellor Jenkins held a hearing on D.R.K.’s
lawsuit in Shelby Counity Chancery Court. No one appeared on behalf of “Gregory
Naussany” or Naussany Investments. Chancellor Jenkins subsequently issued af order
enjoining Naussany Investments from conducting a non-judicial foreclosure sale of
Graceland.

47. Later on or about May 22, 2024, an individual purporting to be “Gregory
Naussany” sent an email from “gregoryenaussanyniplflorida@hotmail.com” to D.R.K.’s
attorneys stating that Naussany Investments was dismissing its creditor’s claim.

48. Beginning on or about May 24, 2024, and continuing through at least May
29, 2024, the individual who had previously claimed to be “Gregory Naussany” made false
and fraudulent representations to D.R.K.’s attorneys, the Shelby County Chancery Court,
and the press creating the false and fraudulent impression that the person responsible
for the scheme was a Nigerian identity thief located in Nigeria.

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49. Specifically, the individual who previously claimed to be “Gregory
Naussany” sent messages, written in different foreign languages, in which the individual
purported to be the Nigeria-based identity thief. These messages were sent via fax and
from “gregoryenaussanyniplflorida@hotmail.com.”

Use of the Mails

50. Onor about November 30, 2023, in the Western District of Tennessee and

elsewhere, defendant
LISA JEANINE FINDLEY,

and others known and unknown to the Grand Jury, aided and abetted by each other, for
the purpose of executing the aforesaid scheme and artifice to defraud, and attempting to
do so, did knowingly place and cause to be placed in a United States Post Office or
authorized depository for mail a thing to be sent and delivered by the United States Postal
Service or any private or commercial interstate carrier, to wit a document titled
“Authorization Agreement for Direct Payments (ACH Debits) FY24” sent and delivered by
the United States Postal Service via Certified Mail from NIPL LLC, PO Box #2, Kimberling
City, Missouri to the Shelby County Register’s Office at an address in Memphis,
Tennessee.

Allin violation of Title 18, United States Code, Section 1341 and Title 18, United
States Code, Section 2.

COUNT 2
(Aggravated Identity Theft, 18 U.S.C. § 1028A)
(Aiding and Abetting, 18 U.S.C. § 2)
51. Paragraphs 1 through 4 and 6 through 50 of this Indictment are realleged

and incorporated by reference as though fully set forth herein.

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52. From at least in and around January 2023 and continuing through at least
in and around August 2024, in the Western District of Tennessee and elsewhere,
defendant

LISA JEANINE FINDLEY,
and others known and unknown to the Grand Jury, aided and abetted by each other,
knowingly transferred, possessed, and used, and knowingly caused to be transferred,
possessed, and used, without lawful authority, a means of identification that defendant
FINDLEY knew belonged to another person, namely, the name of L.M.P., during and in
relation to mail fraud, a felony violation of Title 18, United States Code, Section 1341, as
charged in Count One of this Indictment.

Allin violation of Title 18, United States Code, Section 1028A and Title 18, United

States Code, Section 2.
A TRUE BILL:

DATED: September 10, 2024

Digitally signed by Glenn Leon jghally signe
Glenn Leon bate: 2024.09.09 10:24:19 KEVIN RIT foscnootcana
7 -05'00'
GLENN S. LEON KEVIN G. RITZ
CHIEF UNITED STATES ATTORNEY
U.S. DEPARTMENT OF JUSTICE WESTERN DISTRICT OF TENNESSEE

CRIMINAL DIVISION, FRAUD SECTION

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